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                                    United States District Court
                                     Western District of Texas
                                         Austin Division

 United States of America,
    Plaintiff,

     v.
                                                     Cause No. 1:08-CR-337-LY-1


   GEORGE LEWIS ESCAMILLA, SR.,
    Defendant.




               United States’ Unopposed Motion to Extend Time to Respond to
                              Motion for Compassionate Release


   The United States respectfully moves this Court for a one week extension, until May13,

2020, to respond to Mr. Escamilla’s pending motion for compassionate release filed on April 24,

2020. Counsel for Mr. Escamilla does not oppose this motion.

   On April 24, 2020, Mr. Escamilla filed a motion for compassionate release requesting time

served or home confinement due to the COVID-19 pandemic. Mr. Escamilla based his request on

his medical condition, specifically, he is 67 years old and suffers from diabetes, high blood
pressure, and anemia. He is a double amputee and wheel-chair bound. He is serving his sentence at

FCI Oakdale, one of the Bureau of Prisons facilities impacted by the COVID-19 pandemic.

   The United States received yesterday a declaration regarding Mr. Escamilla’s request for

relief under the CARE Act. Mr. Escamilla is currently hospitalized in an intensive care unit

suffering from COVID-19. The United States is awaiting additional information regarding Mr.

Escamilla’s current medical condition, and the status of any requests for administrative remedies,

before proceeding.
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   Therefore, the United States requests a one week extension of the United States’ time to

respond, until May 13, 2020, at which time the United States will respond to Mr. Escamilla’s

current motion for compassionate release. If the United States can respond sooner, it will do so.


                                                 Respectfully submitted,


                                                 John F. Bash
                                                 United States Attorney

                                           By:   /s/ Mark H. Marshall
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                                      Certificate of Service

     I certify that on May 7, 2020, I electronically filed this document with the Clerk of Court
using the CM/ECF system. The CM/ECF system will send notification to the following CM/ECF
participant(s):

                                         Jose Gonzalez-Falla
                                  Assistant Federal Public Defender


                                                      /s/ Mark H. Marshall
                                                      Mark H. Marshall
                                                      Assistant United States Attorney
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                                  United States District Court
                                   Western District of Texas
                                       Austin Division

 United States of America,
    Plaintiff,

    v.                                                   Cause No. 1:08-CR-337-LY-1

 GEORGE LEWIS ESCAMILLA, SR.,
   Defendant.


                                            Order
   The Court, having considered the United States’ Unopposed Motion to Extend Time to

Respond to Motion for Compassionate Release and all applicable law, finds that the reasons set

forth in the motion support the request, and the motion is GRANTED. The United States shall

respond to the motion for compassionate release by May13, 2020.


                                                _______________________________________
                                                Lee Yeakel
                                                United States District Judge
